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F|LED IN OPEN COURT

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United States of Arnerica
ORDER SETTING CONDITIONS
V. OF RELEASE
DONNIE JOHNSON Case Number: 2:04cr20299-D
Defendant

IT IS ORDERED that the release of the defendant is subject to the following conditions:
( l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

(2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
address and telephone number

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

 

directed The defendant shall appear at (ifblank, to be notified) 167 N. Main, Courtroom #3 - 9"‘ floor
P]ace
for Renort Date on Thursday, June 30, 2005 at 9:00 A.M.

 

 

Date and Ti'me

Release on Personal Recognizance or Unsecured Bond

IT lS FURTHER ORDERED that the defendant be released provided that:
( \/ ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed
( )(5) The defendant execut s an unsecured bond binding the defendant to pay the United States the sum of

0 dollars ($ )

in the event of a failure to appear as required or to surrender as directed for service ot` any sentence imposed

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' Additional Conditions of Release

 

Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other persons and the
community

lT IS FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:
( ) (6) The defendant is placed in the custody of:
(Name of person or organization)
(Address)

(City and state) (Tel. No.)

who agrees (a) to supervise the defendant in accordance with all the conditions ofrelease, (b) to use every effort to assure the appearance ofthe defendant at all scheduled court
proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of release or disappears

 

 

 

Signed:

 

Custodian or Pro)cy Date

f ><) (7) 'l`hcdefendantshall:

(,X) (a) report to the ?(€'\'\"\Zeg &{V‘i fe 5
telephone number 40 \jL_IB-- IS§ Q , not later than

( ) (b) execute a bond or an agreement to forfeit upon failing to appear as required the following sum of money or designated property:

 

 

( ) (c) post with the court the following indicia of ownership of the above-described property, or the following amount or percentage of the above-described

 

)(d) execute a bail bond with solvent sureties in the amount of$
}(e) maintain or actively seek employment.

) (f) maintain or commence an education program

) (g) surrender any passport to:
) (h) obtain no passport.

) (i) abide by the following restrictions on personal association, place of abode, or trave|:

 

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( ] (j) avoid all contact, directly or indirectiy, with any persons who arc or who may become a victim or potential witness iri the subject investigation or
prosecution, including but not limited to:

 

 

( ) (k) undergo medical or psychiatric treatment and/or remain in an institution as follows:

 

 

( ) (l) return to custody each (week) day as of o’clock after being released each (week) day as of o’clock for employment,
schooling, or the following limited purpose(s):

 

t ) (m} maintain residence at a halfway house or community corrections center, as deemed necessary by the pretrial services office or supervising officer.

( ) (n) refrain from possessing a firearm, destructive device, or other dangerous weapons

( ) (o} refrain from ( )any ( )excessive use of alcohol.

()<) (p} refrain from use or unlawful possession ofa narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical

practitioner
( ] (q) submit to any method oftesting required by the pretrial services office or the supervising ofi‘icer for determining whether the defendant is using a prohibited
substance Such methods maybe used with random frequency and include urine testing, the wearing ofa sweat patch, a remote alcohol testing system, and/or
any form of prohibited substance screening or testing.
( ) (r) participate iii a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by the pretrial services office or supervising
officer.
( ) (s) refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of any prohibited substance testing or electronic
monitoring which is (are) required as a condition(s) of release.
( ) (t) participate in one ofthe following home confinement program components and abide by all the requirements of the program which ( ) will or
( ) will not include electronic monitoring or other location verification system. You shall pay all or part ofthe cost ofthe program based upon your ability
to pay as determined by the pretrial services office or supervising officer.
( ) (i) Curfew. You are restricted to your residence every day ( ) from to , or ( ) as directed by the pretrial
services office or supervising ofticer; or
( ) (ii} Homc Detention. You are restricted to your residence at all times except for employment; education; religious services; medical, substance abuse,
or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities as pre-approved by the pretrial services
office or supervising officer; or
( ) (i'ii) Home lncarceration. You are restricted to your residence al all times except for medical needs or treatment, religious services, and court
appearances pre-approved by the pretrial services office or supervising officer.
( ] (u] report as soon as possible, to the pretrial services office or supervising officer any contact with any law enforcement personnei, including, but not limited
to, any arrest, questioning, or traffic stop.

 

 

 

 

 

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Advice of Penalties and Sanctions

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment a fine,

The commission of a F ederal offense while on pretrial release will result in an additional sentence of a term of imprisonment
of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor This sentence shall be in addition to any other sentence
Federal law makes it a crime punishable by up to 10 years of imprisonrnent, and a $250,000 fine or both to obstruct a criminal
investigation It is a crime punishable by up to ten years of imprisonment and a $250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious
if they involve a killing or attempted killing
If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed If you are convicted of:
( l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
not more than $250,000 or imprisoned for not more than 10 years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not
more than $250,000 or imprisoned for not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a niisdemeanor, you shall be fined not more than 5100,000 or imprisoned not more than one year, or both.
A tenn of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. ln
addition, a failure to appear or surrender may result in the forfeiture of any bond posted

Acknowledgment of Defendant

 

ignature of Defendant

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Address

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lYirmPA,< /;am) ¢/ § cadc/9 §
City and State Telephone

Directions to United States Marshal

( ) The defendant is ORDERED released after processing

( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. The defendant shall be produced before the appropriate
judge at the time and place specified if still in custody. "“

/ Sigiiat{ire/o'f Judicial Officer

Judge Bernice B. Donald
Name and Title of .ludicial Of`ficer

Date: June 17., 2005

 

DlSTRlBUTlON: COURT DEFENDANT PRETR|AL SERVICE U.S. ATTORNEY U,S. MARSHAL

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 50 in
case 2:04-CR-20299 was distributed by faX, mail, or direct printing on
J unc 17, 2005 to the parties listed

 

 

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 .lefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

